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 7
   Attorney for Defendant
 8 HODA SAMUEL
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10
11                     IN THE UNITED STATES DISTRICT COURT

12                    FOR THE EASTERN DISTRICT OF CALIFORNIA
13
14
     UNITED STATES OF AMERICA,             )     No. 2:10-CR-00223-JAM
15                                         )
                         Plaintiff,        )       DEFENDANT HODA SAMUEL’S
16
                 v.                        )       MOTION TO VACATE THE
17                                         )       JULY 9, 2013 HEARING DATE
                                           )       ON HER MOTION FOR
18
     HODA SAMUEL,                          )       RELEASE PENDING APPEAL
19                                         )
20                       Defendant.        )
                                           )
21
22         Defendant Hoda Samuel, by and through her attorney Scott L. Tedmon,

23   moves the Court for an order vacating the hearing date of July 9, 2013 on her
24
     motion for release on release pending appeal from the Judgment and Sentence in
25
26   this case. Defendant Samuel’s motion for release pending appeal motion was filed
27
     on June 28, 2013 and set for hearing on July 9, 2013. Given that a sentencing date
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 1   has not yet been set by the Court, there is good cause to vacate the hearing on the
 2
     motion for release pending appeal. A status conference regarding sentencing is set
 3
 4   for Tuesday, July 9, 2013 at 9:45 a.m. at which time the parties and the Court can
 5
     discuss setting a schedule for both sentencing and a briefing schedule on the
 6
     motion for release pending appeal. Finally, the government does not oppose this
 7
 8   motion to vacate the July 9, 2013 hearing date on defendant Samuel’s motion for
 9
     release pending appeal.
10
11         Based on the foregoing, counsel for defendant Samuel requests the Court

12   grant this motion to vacate the hearing on Samuel’s previously filed motion for
13
     release pending appeal.
14
15   DATED: July 2, 2013                    Respectfully submitted,
                                            LAW OFFICES OF SCOTT L. TEDMON
16
17                                          /s/ Scott L. Tedmon
                                            SCOTT L. TEDMON
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                                            Attorney for Defendant Hoda Samuel
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 1                                        ORDER
 2
           Based on the foregoing and good cause appearing, the previously set hearing
 3
 4   date of July 9, 2013 for defendant Samuel’s motion for release pending appeal is
 5
     VACATED.
 6
 7
           Once a sentencing date for defendant Samuel is established by the Court, the

 8   briefing schedule and hearing date for Samuel’s motion for release pending appeal
 9
     will then be set by the Court .
10
11   IT IS SO ORDERED.
12   DATED: July 3, 2013               /s/ John A. Mendez
13                                     JOHN A. MENDEZ
                                       UNITED STATES DISTRICT COURT JUDGE
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